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            EXHIBIT B
            Case: 1:11-cv-05065 Document #: 87-2 Filed: 10/19/11 Page 2 of 2 PageID #:847

Helfrich, Gretchen
From:                       Lightfoot, Lori
Sent:                       Friday, October 14, 2011 8:31 AM
To:                         'dbruce@prslaw.com'; 'Bergetz, Carl'; 'Kasper Michael'
Cc:                         Douglas, Dana S.; Panoff, Thomas
Subject:                    Deposition of Rockford Mayor Morrissey

Importance:                 High


Devon: I understand that you have recently renewed acquaintances with your former law school classmate, Mayor
Morrissey of Rockford. The good Mayor has agreed to submit himself for a deposition in this matter. I suggest Monday
October 24th if his schedule permits. I told him that I would be happy to travel to Rockford for the deposition. Please let
me know if that date works so that I can confer with the Mayor’s scheduler about his availability. Of course if that date
does not work for anyone on your side, please suggest alternative dates. Thanks.

Lori E. Lightfoot
Mayer Brown LLP
71 S. Wacker Drive
Chicago, IL 60606
312-701-8680 ph
312-701-7559 fx




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